Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 1 of 19



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                               Case No.:

  ROBIN MARIE BEDELL,

                 Plaintiff,

         v.

  LACY THOMAS, individually,
  MICHAEL FERGUSON, individually,
  and DERYL LOAR, as SHERIFF
  of INDIAN RIVER COUNTY, Florida,

                 Defendants.
                                                /

                                       COMPLAINT
                                 INTRODUCTORY STATEMENT

         1.      This is a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorney’s fees, against LACY THOMAS, individually, MICHAEL

  FERGUSON, individually, and DERYL LOAR, as SHERIFF of INDIAN RIVER COUNTY,

  Florida.

         2.      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth and

  Fourteenth Amendments to the United States Constitution. The United States District Court for the

  Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1331

  and 28 U.S.C. § 1343. Plaintiff further invokes the supplemental jurisdiction of the United States

  District Court to hear pendant State tort claims arising under State law, pursuant to 28 U.S.C. §

  1367(a).

         3.      Plaintiff has fully complied with all conditions precedent to bringing this action
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 2 of 19



  imposed by the laws of the State of Florida, and particularly by the provisions of §768.28 of the

  Florida Statutes.

                                             PARTIES

            4.   Plaintiff ROBIN MARIE BEDELL [hereinafter Plaintiff or Plaintiff BEDELL] is a

  citizen and resident of Indian River County, Florida.

            5.   At all times referred to herein, Defendant LACY THOMAS, individually,

  [hereinafter THOMAS or Defendant THOMAS] was employed as a deputy sheriff for Defendant

  DERYL LOAR, SHERIFF of INDIAN RIVER COUNTY, and was acting under the direction and

  control of Defendant DERYL LOAR, SHERIFF of INDIAN RIVER COUNTY, in such capacity as

  an agent, servant and employee of DERYL LOAR, SHERIFF of INDIAN RIVER COUNTY.

            6.   At all times referred to herein, Defendant MICHAEL FERGUSON [hereinafter

  FERGUSON or Defendant FERGUSON] was employed as a deputy sheriff for Defendant DERYL

  LOAR, SHERIFF of INDIAN RIVER COUNTY, and was acting under the direction and control of

  Defendant DERYL LOAR, SHERIFF of INDIAN RIVER COUNTY, in such capacity as an agent,

  servant and employee of DERYL LOAR, SHERIFF of INDIAN RIVER COUNTY.

            7.   Defendant DERYL LOAR, as SHERIFF of INDIAN RIVER COUNTY [hereinafter

  Defendant INDIAN RIVER COUNTY SHERIFF’S OFFICE or Defendant DERYL LOAR, as

  SHERIFF of INDIAN RIVER COUNTY] is the SHERIFF of INDIAN RIVER COUNTY, Florida.

  In this cause, Defendant DERYL LOAR, as SHERIFF of INDIAN RIVER COUNTY, acted through

  his agents, employees, and servants, including Defendant THOMAS, Defendant FERGUSON, and

  others.

            8.   Plaintiff sues Defendant THOMAS and Defendant FERGUSON in their individual


                                                  2
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 3 of 19



  capacities.

                               FACTS COMMON TO ALL COUNTS

          9.      On August 27, 2016, Plaintiff was a guest of Melissa Chancellor at her residence in

  Vero Beach, Indian River County, Florida.

          10.     While at the residence, Plaintiff was subjected to battery by Christopher Poppell, who

  used a beer bottle to strike Plaintiff in the head.

          11.     Plaintiff raised her hand in self-defense, and the bottle struck Plaintiff in the area of

  her hand.

          12.     Poppell was immediately tackled to the ground by anther male guest, and Plaintiff

  returned home to her residence located at 4230 13th Street, Vero Beach, Indian River County, Florida.

          13.     Plaintiff subsequently contacted Tony Roberts and discussed the incident with

  Roberts. After speaking with Roberts, Plaintiff contacted Defendant INDIAN RIVER COUNTY

  SHERIFF’S OFFICE to report the criminal conduct of Poppell.

          14.     Plaintiff was in telephone communication with Defendant INDIAN RIVER

  COUNTY SHERIFF’S OFFICE when there was a knock on the front door of her residence.

          15.     When Plaintiff responded to the front door, she observed Defendant THOMAS

  holding the exterior screen door open as Defendant FERGUSON stood near THOMAS on Plaintiff’s

  front porch.

          16.     Plaintiff spoke with THOMAS and FERGUSON from inside her residence, where

  she remained.

          17.     Defendant THOMAS and Defendant FERGUSON explained that they were

  investigating the disturbance at Councilor’s residence.


                                                        3
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 4 of 19



          18.     Plaintiff acknowledged that she had been at Chancellor’s residence, and left after she

  was hit with the beer bottle by Poppell.

          19.     At all times material hereto, Defendant THOMAS and Defendant FERGUSON

  declined to acknowledge Plaintiff’s allegations of criminal conduct of Poppell towards Plaintiff.

          20.     Defendant THOMAS and Defendant FERGUSON declined to acknowledge

  Plaintiff’s allegations against Poppell, and instead, Defendant FERGUSON informed Plaintiff that

  she was required to speak with Defendant THOMAS and Defendant FERGUSON because they were

  “investigating” Plaintiff’s conduct.

          21.     The statement by Defendant FERGUSON that Plaintiff was required to speak with

  Defendant THOMAS and Defendant FERGUSON was false, insofar as there is no legal requirement

  that a person submit to interrogation during a consensual encounter relating to a criminal

  investigation, or submit to custodial interrogation at any time, including in the absence of a knowing

  and intelligent waiver of their constitutional right to remain silent.

          22.     Plaintiff advised Defendant THOMAS and Defendant FERGUSON that she had no

  interest in speaking with them further, whereupon Plaintiff closed the door to her residence.

          23.     Defendant THOMAS blocked Plaintiff from closing the front door to her residence,

  whereupon both Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority.

          24.     Defendant FERGUSON physically forced Plaintiff to the floor inside her residence

  and arrested Plaintiff for the offenses of disorderly intoxication and resisting arrest without violence

  in the absence of probable cause that Plaintiff committed any criminal offense.

          25.     On September 14, 2016, the State Attorney’s Office for Florida’s 19th Judicial Circuit


                                                     4
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 5 of 19



  filed a No Information as to all criminal charges, and Plaintiff has never been convicted by any

  prosecuting authority of any criminal offense as a result of her arrest by Defendant FERGUSON on

  August 27, 2016.

         26.    At all times material hereto, the conduct of Defendant THOMAS and Defendant

  FERGUSON occurred under color of state law.

                                      CAUSES OF ACTION

                                   COUNT I
          PLAINTIFF’S FOURTH AMENDMENT CLAIM AGAINST DEFENDANT
            THOMAS, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                               (unlawful search)

  For her cause of action against Defendant THOMAS, individually, in Count I, Plaintiff states:

         27.    Plaintiff realleges and adopts, as if fully set forth in Count I, the allegations of

  paragraphs 1 through 26.

         28.    Defendant THOMAS entered Plaintiff’s residence without a search warrant or lawful

  authority.

         29.    The conduct of Defendant THOMAS, individually, was objectively unreasonable and

  violated Plaintiff’s clearly established rights under the Fourth and Fourteenth Amendments of the

  United States Constitution and 42 U.S.C. § 1983 to be secure in her house, papers, and effects,

  against unreasonable search and seizure.

         30.    As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering.

         31.    As a further direct and proximate result of the conduct of Defendant THOMAS,



                                                  5
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 6 of 19



  Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss of capacity

  for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and Plaintiff will

  suffer the losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay

  the undersigned a reasonable fee for his services, herein.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

                  v.      Trial by jury as to all issues so triable; and

                  vi.     Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT II
          PLAINTIFF’S FOURTH AMENDMENT CLAIM AGAINST DEFENDANT
           FERGUSON, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                               (unlawful search)

  For her cause of action against Defendant FERGUSON, individually, in Count II, Plaintiff states:

          32.     Plaintiff realleges and adopts, as if fully set forth in Count II, the allegations of

  paragraphs 1 through 26.

          33.     Defendant FERGUSON entered Plaintiff’s residence without a search warrant or

  lawful authority.

          34.     The conduct of Defendant FERGUSON, individually, was objectively unreasonable

  and violated Plaintiff’s clearly established rights under the Fourth and Fourteenth Amendments of

  the United States Constitution and 42 U.S.C. § 1983 to be secure in her house, papers, and effects,



                                                      6
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 7 of 19



  against unreasonable search and seizure.

          35.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering.

          36.     As a further direct and proximate result of the conduct of Defendant FERGUSON,

  Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss of capacity

  for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and Plaintiff will

  suffer the losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay

  the undersigned a reasonable fee for his services, herein.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

                  v.      Trial by jury as to all issues so triable; and

                  vi.     Such other relief as this Honorable Court may deem just and appropriate.

                              COUNT III
       FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM AGAINST
    DEFENDANT THOMAS, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For her cause of action against Defendant THOMAS, individually, in Count III, Plaintiff states:

          37.     Plaintiff realleges and adopts, as if fully set forth in Count III, the allegations of

  paragraphs 1 through 26.

          38.     During a consensual encounter, Defendant FERGUSON informed Plaintiff that she


                                                      7
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 8 of 19



  was required to speak with Defendant THOMAS and Defendant FERGUSON because they were

  “investigating” Plaintiff’s conduct.

         39.     The statement by Defendant FERGUSON that Plaintiff was required to speak with

  Defendant THOMAS and Defendant FERGUSON was false, insofar as there is no legal requirement

  that a person submit to interrogation during a consensual encounter, or submit to custodial

  interrogation at any time, including in the absence of a knowing and intelligent waiver of their

  constitutional right to remain silent.

         40.     Plaintiff advised Defendant THOMAS and Defendant FERGUSON that she had no

  interest in speaking with them further, whereupon Plaintiff closed the door to her residence.

         41.     Defendant THOMAS blocked Plaintiff from closing the front door to her residence,

  whereupon both Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority.

         42.     At all times material hereto, it was clearly established law that “the First Amendment

  protects a significant amount of verbal criticism and challenge directed at police officers.” City of

  Houston v. Hill, 107 S.Ct. 2502, 2509 (1987).

         43.     At all times material hereto, it was clearly established law that “[t]he freedom of

  individuals verbally to oppose or challenge police action without thereby risking arrest is one of the

  principal characteristics by which we distinguish a free nation from a police state.” Id. at 2510.

         44.     The unlawful search of Plaintiff’s residence by Defendant THOMAS, individually,

  and Defendant FERGUSON, individually, was in retaliation for Plaintiff refusing to submit to

  interrogation during a consensual encounter, or submit to custodial interrogation at any time, and

  proximately caused the warrantless entry of Plaintiff’s residence by Defendant THOMAS and


                                                    8
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 9 of 19



  Defendant FERGUSON.

          45.     The unlawful search of Plaintiff’s residence by Defendant THOMAS, individually,

  and Defendant FERGUSON, individually, would likely deter a person of ordinary firmness from the

  exercise of their First Amendment rights, and constitutes unlawful retaliation in violation of

  Plaintiff’s clearly established rights under the First and Fourteenth Amendments, and 42 U.S.C. §

  1983.

          46.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering.

          47.     As a further direct and proximate result of the conduct of Defendant THOMAS,

  Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss of capacity

  for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and Plaintiff will

  suffer the losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay

  the undersigned a reasonable fee for his services, herein.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

                  v.      Trial by jury as to all issues so triable; and

                  vi.     Such other relief as this Honorable Court may deem just and appropriate.

                                                COUNT IV


                                                      9
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 10 of 19



       FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM AGAINST
   DEFENDANT FERGUSON, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For her cause of action against Defendant FERGUSON, individually, in Count IV, Plaintiff states:

         48.     Plaintiff realleges and adopts, as if fully set forth in Count IV, the allegations of

  paragraphs 1 through 26.

         49.     During a consensual encounter, Defendant FERGUSON informed Plaintiff that she

  was required to speak with Defendant THOMAS and Defendant FERGUSON because they were

  “investigating” Plaintiff’s conduct.

         50.     The statement by Defendant FERGUSON that Plaintiff was required to speak with

  Defendant THOMAS and Defendant FERGUSON was false, insofar as there is no legal requirement

  that a person submit to interrogation during a consensual encounter, or submit to custodial

  interrogation at any time, including in the absence of a knowing and intelligent waiver of their

  constitutional right to remain silent.

         51.     Plaintiff advised Defendant THOMAS and Defendant FERGUSON that she had no

  interest in speaking with them further, whereupon Plaintiff closed the door to her residence.

         52.     Defendant THOMAS blocked Plaintiff from closing the front door to her residence,

  whereupon both Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority.

         53.     At all times material hereto, it was clearly established law that “the First Amendment

  protects a significant amount of verbal criticism and challenge directed at police officers.” City of

  Houston v. Hill, 107 S.Ct. 2502, 2509 (1987).

         54.     At all times material hereto, it was clearly established law that “[t]he freedom of



                                                   10
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 11 of 19



  individuals verbally to oppose or challenge police action without thereby risking arrest is one of the

  principal characteristics by which we distinguish a free nation from a police state.” Id. at 2510.

          55.     The unlawful search of Plaintiff’s residence by Defendant THOMAS, individually,

  and Defendant FERGUSON, individually, was in retaliation for Plaintiff refusing to submit to

  interrogation during a consensual encounter, or submit to custodial interrogation at any time, and

  proximately caused the warrantless entry of Plaintiff’s residence by Defendant THOMAS and

  Defendant FERGUSON.

          56.     The unlawful search of Plaintiff’s residence by Defendant THOMAS, individually,

  and Defendant FERGUSON, individually, would likely deter a person of ordinary firmness from the

  exercise of their First Amendment rights, and constitutes unlawful retaliation in violation of

  Plaintiff’s clearly established rights under the First and Fourteenth Amendments, and 42 U.S.C. §

  1983.

          57.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering.

          58.     As a further direct and proximate result of the conduct of Defendant THOMAS,

  Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss of capacity

  for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and Plaintiff will

  suffer the losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay

  the undersigned a reasonable fee for his services, herein.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;


                                                      11
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 12 of 19



                  ii.    Judgment for exemplary damages;

                  iii.   Cost of suit;

                  iv.    Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

                  v.     Trial by jury as to all issues so triable; and

                  vi.    Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT V
                   FALSE ARREST/FALSE IMPRISONMENT CLAIM
           AGAINST DEFENDANT INDIAN RIVER COUNTY SHERIFF’S OFFICE

  For her cause of action against Defendant INDIAN RIVER COUNTY SHERIFF’S OFFICE in Count

  V, Plaintiff states:

          59.     Plaintiff realleges and adopts, as if fully set forth in Count V, the allegations of

  paragraphs 1 through 26.

          60.     Defendant FERGUSON proximately caused Plaintiff’s arrest in the absence of

  probable cause that Plaintiff committed a misdemeanor offense in the presence of any officer.

          61.     The actions of Defendant FERGUSON, in causing the arrest of Plaintiff in the

  absence of probable cause, were taken in the absence of lawful authority. The actions of Defendant

  FERGUSON constitute false arrest/false imprisonment of Plaintiff under Florida law.

          62.     The false arrest/false imprisonment of Plaintiff by Defendant FERGUSON in the

  course and scope of his employment as a deputy sheriff for Defendant INDIAN RIVER COUNTY

  SHERIFF’S OFFICE.

          63.     As a direct and proximate result of the acts described above, Plaintiff has suffered

  grievously, has been brought into public scandal, and with great humiliation and mental suffering.

          64.     As a further direct and proximate result of the conduct of Defendant INDIAN RIVER


                                                    12
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 13 of 19



  COUNTY SHERIFF’S OFFICE, Plaintiff suffered loss of liberty and freedom, pain and suffering,

  mental anguish, and loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent

  or continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.       Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.      Cost of suit;

                  iii.     Trial by jury as to all issues so triable; and

                  iv.      Such other relief as this Honorable Court may deem just and appropriate.

                                        COUNT VI
                         FALSE ARREST/FALSE IMPRISONMENT CLAIM
                        AGAINST DEFENDANT FERGUSON, INDIVIDUALLY

  For her cause of action against Defendant FERGUSON, individually, in Count VI, Plaintiff states:

          65.     Plaintiff realleges and adopts, as if fully set forth in Count VI, the allegations of

  paragraphs 1 through 26.

          66.     Defendant FERGUSON proximately caused Plaintiff’s arrest in the absence of

  probable cause that Plaintiff committed a misdemeanor offense in the presence of any officer.

          67.     The actions of Defendant FERGUSON, in causing the arrest of Plaintiff in the

  absence of probable cause, were taken in the absence of lawful authority. The actions of Defendant

  FERGUSON constitute false arrest/false imprisonment of Plaintiff under Florida law.

          68.     Alternatively to the allegations set forth in Count V, if the false arrest/false

  imprisonment of Plaintiff was not committed by Defendant FERGUSON during the course and

  scope of his employment for Defendant INDIAN RIVER COUNTY SHERIFF’S OFFICE, or was

  committed by Defendant FERGUSON in bad faith or with malicious purpose or in a manner


                                                      13
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 14 of 19



  exhibiting wanton and willful disregard of human rights, safety, or property, the false arrest/false

  imprisonment of Plaintiff was committed by Defendant FERGUSON in his individual capacity.

          69.     As a direct and proximate result of the acts described above, Plaintiff has suffered

  grievously, has been brought into public scandal, and with great humiliation and mental suffering.

          70.     As a further direct and proximate result of the conduct of Defendant FERGUSON,

  individually, Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and

  loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and

  Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and

                  v.      Such other relief as this Honorable Court may deem just and appropriate.

                                     COUNT VII
                  PLAINTIFF’S INVASION OF PRIVACY CLAIM AGAINST
                 DEFENDANT INDIAN RIVER COUNTY SHERIFF’S OFFICE

  For her cause of action against Defendant INDIAN RIVER COUNTY SHERIFF’S OFFICE, in

  Count VII, Plaintiff states:

          71.     Plaintiff realleges and adopts, as if fully set forth in Count VII, the allegations of

  paragraphs 1 through 26.

          72.     Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority, whereupon Plaintiff was taken to the ground and


                                                      14
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 15 of 19



  arrested by Defendant FERGUSON in the absence of probable cause that Plaintiff committed a

  misdemeanor offense in the presence of any officer.

          73.     The conduct of Defendant THOMAS and Defendant FERGUSON was objectively

  unreasonable, and caused Plaintiff outrage, mental suffering, shame, and humiliation, and was

  undertaken in such a manner as to cause outrage, or mental suffering, shame, or humiliation, to a

  person of ordinary sensibilities.

          74.     The conduct set forth herein constitutes an invasion upon Plaintiff’s physical solitude

  or seclusion, and constitutes invasion of privacy.

          75.     The invasion of privacy proximately caused by Defendant THOMAS and Defendant

  FERGUSON against Plaintiff was committed by Defendant THOMAS and Defendant FERGUSON

  in the course and scope of their employment as deputy sheriffs for Defendant INDIAN RIVER

  COUNTY SHERIFF’S OFFICE.

          76.     As a direct and proximate result of the acts described above, Plaintiff has suffered

  grievously, has been brought into public scandal, and with great humiliation and mental suffering.

          77.     As a further direct and proximate result of the conduct of Defendant INDIAN RIVER

  COUNTY SHERIFF’S OFFICE, Plaintiff suffered loss of liberty and freedom, pain and suffering,

  mental anguish, and loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent

  or continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Cost of suit;

                  iii.    Trial by jury as to all issues so triable; and


                                                     15
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 16 of 19



                 iv.     Such other relief as this Honorable Court may deem just and appropriate.

                                    COUNT VIII
                  PLAINTIFF’S INVASION OF PRIVACY CLAIM AGAINST
                        DEFENDANT THOMAS, INDIVIDUALLY

  For her cause of action against Defendant THOMAS, individually, in Count VIII, Plaintiff states:

         78.     Plaintiff realleges and adopts, as if fully set forth in Count VIII, the allegations of

  paragraphs 1 through 26.

         79.     Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority, whereupon Plaintiff was taken to the ground and

  arrested by Defendant FERGUSON in the absence of probable cause that Plaintiff committed a

  misdemeanor offense in the presence of any officer.

         80.     The conduct of Defendant THOMAS and Defendant FERGUSON was objectively

  unreasonable, and caused Plaintiff outrage, mental suffering, shame, and humiliation, and was

  undertaken in such a manner as to cause outrage, or mental suffering, shame, or humiliation, to a

  person of ordinary sensibilities.

         81.     The conduct set forth herein constitutes an invasion upon Plaintiff’s physical solitude

  or seclusion, and constitutes invasion of privacy.

         82.     Alternatively to the allegations set forth in Count VII, if the invasion of privacy was

  committed by Defendant THOMAS outside the course and scope of her employment for Defendant

  INDIAN RIVER COUNTY SHERIFF’S OFFICE, or was committed by Defendant THOMAS in bad

  faith or with malicious purpose or in a manner exhibiting wanton and willful disregard of human

  rights, safety, or property, the invasion of privacy was committed by Defendant THOMAS in her

  individual capacity.


                                                   16
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 17 of 19



          83.     As a direct and proximate result of the acts described above, Plaintiff has suffered

  grievously, has been brought into public scandal, and with great humiliation and mental suffering.

          84.     As a further direct and proximate result of the conduct of Defendant THOMAS,

  individually, Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and

  loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and

  Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and

                  v.      Such other relief as this Honorable Court may deem just and appropriate.

                                      COUNT IX
                   PLAINTIFF’S INVASION OF PRIVACY CLAIM AGAINST
                        DEFENDANT FERGUSON, INDIVIDUALLY

  For her cause of action against Defendant FERGUSON, individually, in Count IX, Plaintiff states:

          85.     Plaintiff realleges and adopts, as if fully set forth in Count IX, the allegations of

  paragraphs 1 through 26.

          86.     Defendant THOMAS and Defendant FERGUSON entered Plaintiff’s residence

  without a search warrant or lawful authority, whereupon Plaintiff was taken to the ground and

  arrested by Defendant FERGUSON in the absence of probable cause that Plaintiff committed a

  misdemeanor offense in the presence of any officer.

          87.     The conduct of Defendant THOMAS and Defendant FERGUSON was objectively


                                                      17
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 18 of 19



  unreasonable, and caused Plaintiff outrage, mental suffering, shame, and humiliation, and was

  undertaken in such a manner as to cause outrage, or mental suffering, shame, or humiliation, to a

  person of ordinary sensibilities.

          88.     The conduct set forth herein constitutes an invasion upon Plaintiff’s physical solitude

  or seclusion, and constitutes invasion of privacy.

          89.     Alternatively to the allegations set forth in Count VII, if the invasion of privacy was

  committed by Defendant FERGUSON outside the course and scope of his employment for

  Defendant INDIAN RIVER COUNTY SHERIFF’S OFFICE, or was committed by Defendant

  FERGUSON in bad faith or with malicious purpose or in a manner exhibiting wanton and willful

  disregard of human rights, safety, or property, the invasion of privacy was committed by Defendant

  FERGUSON in his individual capacity.

          90.     As a direct and proximate result of the acts described above, Plaintiff has suffered

  grievously, has been brought into public scandal, and with great humiliation and mental suffering.

          91.     As a further direct and proximate result of the conduct of Defendant FERGUSON,

  individually, Plaintiff suffered loss of liberty and freedom, pain and suffering, mental anguish, and

  loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent or continuing and

  Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and


                                                      18
Case 2:17-cv-14417-KAM Document 1 Entered on FLSD Docket 12/01/2017 Page 19 of 19



              v.      Such other relief as this Honorable Court may deem just and appropriate.

                                DEMAND FOR JURY TRIAL

        92.   Plaintiff demands trial by jury on all issues so triable as of right.

        DATED this    30th     day of November, 2017.

                               By:    s/. Hugh L. Koerner
                                      Hugh L. Koerner
                                      Florida Bar No.: 716952
                                      Email: hlklaw@hughkoerner.com
                                      Hugh L. Koerner, P.A.
                                      Sheridan Executive Centre
                                      3475 Sheridan Street, Suite 208
                                      Hollywood, FL 33021
                                      Telephone: (954) 522-1235
                                      Facsimile: (954) 522-1176
                                      Attorneys for Plaintiff Robin Marie Bedell




                                                 19
